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 Konstantina Dimou                                                     3:23-cv-01732-TWR-JLB

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The pro hac vice application for Robert Newman representing defendants is hereby:

_ APPROVED for filing                           DENIED
Date. 01/25/2024                              It is so ordered.
                                                                  Honorable Todd W. Robinson
